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                            UNITED STATES DISTRICT COURT                          CLtRn GF COUftT
                             SOUTHERNDISTRICTOF OHIO
                                      EASTERN DIVISION                         ^2 OCT-5 PM 3; i 6
                                                                               U. S. DJSTHjC? COURT
UNITED STATES OF AMERICA,                                                      SOUTiiERNDiST. CHiO
                                                  CASE NO. 2:22-CR-11SAS f. DJV. COLUMBUS
               Plaintiff,
                                                  JUDGE EDMUND A. SARGUS, JR.
       vs.
                                                  SUPERSEDING INDICTMENT
(1) CORDELL A. WASHINGTON,
     aka "Corey"                                  18 U.S.C.   §2
     aka "Dub"                                    18 U.S.C.   §922(g)(l)
     aka "Bro"                                    18 U.S.C.   § 924(a)(2)
    (Counts 1, 2, 3, 4, 14, 17, 28, 29, 30, 32,   18 U.S.C.   § 924(a)(8)
    36, 37 and Forfeitures A, C, E, J, K )        18 U.S.C.   § 924(c)(l)(A)(i)
                                                  21 U.S.C.   §841(a)(l)
(2) PATMCK M. SAULTZ,                             21 U.S.C.   §841(b)(l)(A)(ii)
      aka "White Boy Pat"                         21 U.S.C.   §841(b)(l)(A)(iii)
     (Counts 1, 14, 17, 25, 26, 27, 30, 31, 32,   21 u.s.a    § 841(b)(l)(A)(vi)
     33 and Forfeitures B, C, I, J)               21 U.S.C.   § 841(b)(l)(B)(iii)
                                                  21 U.S.C.   §841(b)(l)(B)(vi)
(3) DAVID E. PRICE,                               21 U.S.C.   § 841(b)(l)(C)
     aka"DP"                                      21 U.S.C.   § 841(b)(l)(D)
     (Counts 1, 5, 6, 7, 11, 24 and               21 U.S.C.   §841(b)(2)
     Forfeitures D, E, J)                         21 U.S.C.   §846
                                                  21 U.S.C.   §856
(4) ALLISONE. SMITH,                              21 U. S.C. §860
     aka "Alii"
     (Counts 1, 23 and Forfeiture F)              FORFEITURE ALLEGATIONS

(5) TAVARYYUANJOHNSON,
     aka "Gucci"
     aka"TJ"
     (Counts 1, 21, 22, 34, 35, 36 and
     Forfeitures G, K)

(6) TYLER N. BOURDO,
     (Counts 1, 8, 9, 10, 12, 18, 19, 20 and
      Forfeitures H, J)

(7) ALEXIS C. LEWIS,
     (Counts 1, 17 and Forfeiture I)

(8) MICHAEL D. FOWLER,
    (Counts 1, 15
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(9) CAEMELA BROOKS,
    (Counts 1, 15)

(10) DUSTIN A. SPEAKMAN
     aka "Dawg"
    (Counts 1, 16)

(11) DANNY G. MULLINS,
     (Count 1)

(12) ANTHONY B. FRIERSON,
      aka "Royal"
      (Count 1)

(13) MICHAEL D. BURTON,
     (Counts 1, 38, 39, 40, 41 and
     Forfeiture L)

(14) BRIAN K. LONG II,
     (Count 1)

(15) CAITLIN R. S. DUFF,
     (Count 1)

(16) MITCHELL A. POWERS,
     (Count 1)

(17) VINCENT T. GRIFFIN,
     (Count 1)

(18) ROBERT L. PYLES,
     aka "Pork"
     (Count 1)

(19) GABRTET. R. SMITH.
    aka "Gabe"
     (Count 1)

(20) BMTTANY A. WILLIAMS,
     (Count 1)

(21) LAUREN E. BREZNY,
     (Counts 1, 13)

(22) PRISCILLA L. WASHINGTON, and
     (Count 37 and Forfeiture K
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 (23) ROBERT E. TINSLEY III,
      aka"Cam"
      (Counts 1, 10)

               Defendants.




THE GRANDJURYCHARGES:


                                     COUNT 1
(Conspiracyto Distribute and Possesswith Intent to Distribute Fentanyl, Cocaine, Cocaine
      Base, Methamphetamine, Heroin, Marijuana,AIprazolam, and Oxycodone)

       1.     Between on or about January 1, 2008, through and including the date of this

Superseding Indictment, in the Southern District of Ohio and elsewhere, the defendants,

CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro, " PATMCK M.

SAULTZ, aka "White Boy Pat, " DAVID E. PRICE, aka "DP," ALLISON E. SMITH, aka

"Alii, " TAVARYYUAN JOHNSON, aka "Gucci, " aka "TJ," TYLER N. BOURDO, ALEXIS

C. LEWIS, MICHAEL D. FOWLER, CARMELA BROOKS, DUSTIN A. SPEAKMAN,

aka "Dawg, " DANNY G. MULLINS, ANTHONY B. FMERSON, aka "Royal, " MICHAEL

D. BURTON, BRIAN K. LONG II, CAITLIN R. S. DUFF, MITCHELL A. POWERS,

VINCENT T. GMFFIN, ROBERT L. PYLES, aka "Pork, " GABMEL R. SMITH, aka

"Gabe, " BMTTANY A. WILLIAMS, LAUREN E. BREZNY, and ROBERT E. TINSLEY

Ill, aka "Cam, "   and others, both known and unknown to the Grand Jury, did knowingly,

intentionally, andunlawfully conspire with eachother andwith others, both knownandunknown

to the GrandJury,to distributeandpossesswithintentto disb-ibute400gramsor more ofa mixture

or substance containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly referred to as "fentanyl, " a Schedule II controlled substance; five

kilogramsor more ofa mixture or substancecontaininga detectableamountofcocaine,a Schedule
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II controlled substance; 280 grams or more of a mixture or substance containing a detectable

amount of cocaine base, commonly referred to as "crack," a Schedule II controlled substance; a

mixture or substance containing a detectable amount of methamphetamine, its salts, isomers, or

salts of its isomers, a Schedule II controlled substance; a mixture or substance containing a

detectable amount of heroin, a Schedule I controlled substance; a mixture or substance containing

a detectable amount of marijuana, a Schedule I controlled substance; a mixture or substance

containing a detectable amount of oxycodone, a Schedule II controlled substance; and a mixture

or substancecontaininga detectableamount ofalprazolam, a ScheduleIV controlled substance,in

violation of 21 U. S. C. §§ 841(a)(l), 841(b)(l)(A)(vi),       841(b)(l)(A)(ii),   841(b)(l)(A)(iii),

841(b)(l)(C), 841(b)(2), and 846.

       2.      It was a part ofthe conspiracy that CORDELLA. WASHINGTON, aka "Corey,"

aka "Dub," aka "Bro, " and PATRICK M. SAULTZ, aka "White Boy Pat, " were the leaders

of a Drug Trafficking Organization (DTO) that received illegal contolled substances including, but

not limited to fentanyl, cocaine, cocaine base, metamphetamine, heroin, marijuana, alprazolam,

and oxycodone, anddistributedthe controlled substancesin andaroundthe central Ohio area.

       3.      It was further a part of the conspiracy that co-conspirators in this DTO utilized

cellularphonesandothercommunicationdevicesandapplicationsto discussthe delivery, storage,

preparation, packaging, distribution, sale, and proceeds from the business oftrafficking in illegal

controlled substances.

       4.      It was further a part of the conspiracy that the co-conspirators utilized code words

when discussing the importation, storage, preparation, packaging, distribution, sale, and proceeds

from the businessoftraffickingin illegal controlled substances.
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       5.      It was further a part of the conspiracy that the co-conspirators utilized residences

for the sale of illegal controlled substances to users who arrived at the residences to purchase

controlled substances.

       6.      It was further a part of the conspiracy that the co-conspirators stored dmgs at and

sold drugs from residences that are within 1,000 feet of the real property of a Columbus City

School,that is BurroughsElementary School, specifically, theseresidenceswere located at 559 S.

Burgess Avenue, Columbus, Ohio and 505 S. Harris Avenue, Columbus, Ohio.

       7.      It was further a part of the conspiracy that each DTO residence was equipped with

a cellular phone that stayed at the residence and many of the DTO's customers called that

residence's cellular phone to inquire about visiting the residence in order to purchase illegal

controlled substances.

       8.      It was further a part ofthe conspiracythat one member ofthe organizationactedas

a manager or seller at a residence being used for dmg sales by answering the cellular phone and

selling illegal controlled substances to customers who arrived to purchase illegal controlled

substances, while others in the organization distanced themselves from the day-to-day sales.

       9.      It was further a part of the conspiracy that a co-conspiratorpurchasedhouses and

storage facilities to use as stash houses to store the illegal controlled substances.

        10.    It was further a part ofthe conspiracy that the co-consoirators solicited oersons to

trade U. S. currency and/or illegal controlled substances for checks and money orders to deposit

into accounts controlled by the co-conspirators in an attempt to launder their drug trafficking

proceeds.
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       11.     It was further a part of the conspiracy that the co-conspirators created fictitious

Limited Liability Companies in order to open and maintain bank accounts to deposit their drug

proceeds.

       12.     It was ftirther a part of the conspiracy that this DTO supplied distribution amounts

of illegal controlled substances, including but not limited to fentanyl, cocaine, cocaine base,

methamphetamine, heroin, marijuana, alprazolam, and oxycodone to other drug distributors.

       In violation of 21 U. S. C. §§ 846 and 860.


                                            COUNT 2
                                 (Distribution of Cocaine Base)

       13.     On or about December 17, 2020, in the Southern District of Ohio, the defendant,

CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro, " did knowingly,

intentionally, and unlawfully distribute a mixture or substance containing a detectable amount of

cocaine base, commonly referred to as "crack, " a Schedule II controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.


                                            COUNT 3
                (Possession with Intent to Distribute Cocaine Base, Cocaine,
                              Fentanyl, Heroin, and Marijuana)

       14.     On or about December 17, 2020, in the Southern District of Ohio, the defendant,

CORDELL A. WASHINGTON, aka "Corey, " aka "Dub," aka "Bro, " did knowingly,

intentionally, and unlawfully possess with intent to distribute 28 grams or more of a mixture or

substance containing a detectable amount of cocaine base, commonly referred to as "crack," a

Schedule II controlled substance; a mixture or substance containing a detectable amount of

cocaine, a ScheduleII controlled substance;a mixtureor substancecontaininga detectableamount
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of N-phenyl-N-[l-(2-phenylethyl)-4-piperidmyl]         propanamide, commonly referred to as

"fentanyl, " a Schedule II controlled substance; a mixture or substance containing a detectable

amount of heroin, a Schedule I controlled substance; and less than 50 kilograms of a mixture or

substancecontaininga detectable amount of marijuana, a ScheduleI controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l), 841(b)(l)(B)(iii), 841(b)(l)(C), and
841(b)(l)(D), and 18 U. S. C. § 2.


                                           COUNT 4
              (Possessionof a Firearm in Furtherance of a Drug Trafficking Crime)

        15.      On or about December 17, 2020, in the Southern District of Ohio, the defendant,

CORDELLA. WASHINGTON, aka "Corey, " aka "Dub," aka "Bro, " didknowingly possess

one or more firearms, to wit, a High Standard, . 22 caliber pistol, bearing serial number 690090;

and a Ruger LC9S, 9mm pistol, bearing serial number 327-14814, in furtherance of a dmg

trafficking crime for whichhemay beprosecuted in a court ofthe United States, that is, possession

with intent to distribute controlled substances, in violation of 21 U. S. C. § 841(a)(l), as alleged in

Count 3 ofthis SupersedingIndictment.

        In violation of 18 U. S.C. §§ 924(c)(l)(A)(i) and 2.


                                              COUNT 5
                   (Possession with Intent to Distribute Cocaine and Fentanyl)

        16.      On or about August 4, 2021, in the Southern District of Ohio, the defendant,

DAVIDE. PRICE, aka "DP," did knowingly, intentionally, andunlawfully possess with intent

to distribute a mixture or substance containing a detectable amount of cocaine, a Schedule II

controlled substance; and a mixture or substance containing a detectable amount ofN-phenyl-N-

[l-(2-phenylethyl)-4-piperidinyl] propanamide, commonly referred to as "fentanyl, " a Schedule II

controlled substance.
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       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.

                                            COUNT 6
              (Possession of a Firearm in Furtherance of a Drug TraffickingCrime)

       17.       On or about August 4, 2021, in the Southern District of Ohio, the defendant,

DAVIDE. PRICE, aka "DP," didknowingly possess one or more firearms, to wit, a Bryco Arms,

9nim pistol, bearing serial number 1509754; a Ruger SR22P, .22 caliber pistol, bearing serial

number 363-74908; and a Jimenez Arms, Model J.A. 380, . 380 caliber pistol, bearing serial

number 091278, in furtherance of a dmg trafficking crime for whichhe may be prosecuted in a

court of the United States, that is, possession with intent to distribute cocaine and fentanyl, in

violation of 21 U. S. C. § 841(a)(l), as alleged in Count 5 ofthis Superseding Indictment.

       In violation of 18 U. S.C. §§ 924(c)(l)(A)(i) and 2.


                                            COUNT 7
                                (Felon in Possession of a Firearm)

       18.       On or about August 4, 2021, in the Southern District of Ohio, the defendant,

DAVID E. PRICE, aka "DP," knowmg he had previously been convicted of a crime punishable

by imprisonment for a term exceeding one year, did knowingly possess one or more fireamis, to

wit, a Bryco Arms, 9mm pistol, bearing serial number 1509754; a Ruger SR22P, . 22 caliber pistol,

bearing serial number 363-74908; and a Jimenez Anns, Model J.A. 380, . 380 caliber pistol,

bearing serial number 091278, andthose firearms were in and affectinginterstate commerce.

       In violation of 18 U. S. C. §§ 922(g)(l) and 924(a)(2).


                                            COUNT 8
                                    (Distribution ofFentanyI)

        19.      On or about September 8, 2021, in the Southern District of Ohio, the defendant,

TYLER N. BOURDO, did knowingly, intentionally, and unlawfully distribute a mixture or


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substance containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly referredto as "fentanyl," a ScheduleII controlled substance.

        In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.


                                              COUNT 9
                  (Possession with Intent to Distribute Fentanyl and Cocaine)

        20.     On or about September 17, 2021, in the Southern District of Ohio, the defendant,

TYLER N. BOURDO, did knowingly, intentionally, and unlawfully possess with intent to

distribute a mixture or substance containing a detectable amount of N-phenyl-N-[l-(2-

phenylethyl)-4-piperidinyl] propanamide, commonly referred to as "fentanyl, " a Schedue II

controlled substance, and a mixture or substance containing a detectable amount of cocaine, a

Schedule II cont-olled substance.

        In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.


                                      COUNT 10
       (Distribution ofFentanyIand CocaineBaseResulting in Serious Bodily Injury)

        21.     On or about October 10, 2021, in the Southern District of Ohio, the defendants,

TYLER N. BOURDO and ROBERT E. TINSLEY III, aka "Cam, " did knowingly,

intentionally, and unlawfully distribute a mixture or substance containing a detectable amount of

N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl] propanamide, commonly referred to as "fentanyl,"

and a mixture or substance containing a detectable amount of cocaine base, commonly referred to

as "crack," Schedule II controlled substances. The serious bodily injury of'S.B." resulted from

the distribution of the conti-olled substances.

        In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.
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                                           COUNT 11
                                   (Distribution ofFentanyl)

       22.     On or about November 21, 2021, in the Southern Disfa:ict of Ohio, the defendant,

DAVIDE. PRICE, aka "DP," did knowingly, intentionally, andunlawfully distribute a mixture

or substance containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly referred to as "fentanyl, " a Schedule II controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.


                                          COUNT 12
                            (Distribution ofFentanyl and Cocaine)

       23.     On or about November 28, 2021, in the Southern District of Ohio, the defendant,

TYLER N. BOURDO, did knowingly, intentionally, and unlawfally distribute a mixture or

substance containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly referred to as "fentanyl, " a Schedule II controlled substance, and a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of21 U. S.C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S.C. § 2.


                                           COUNT 13
      (Possessionwith Intent to Distribute Fentanyl, Cocaine, and Methamphetamine)

       24.     On or about May 4, 2022, in the Southern District of Ohio, the defendant,

LAUREN E. BREZNY, did knowingly, intentionally, and unlawfully possess with intent to

distribute a mixture or substance containing a detectable amount of N-phenyl-N-[l-(2-

phenylethyl)-4-piperidinyl] propanamide, commonly referred to as "fentanyl," a Schedule II

controlled substance; a mixture or substance containing a detectable amount of cocaine, a




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Schedule II controlled substance; and a mixture or substance containing a detectable amount of

methamphetamine, its salts, isomers, or salts ofits isomers, a ScheduleII controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.


                                           COUNT 14
                                   (Distribution ofFentanyl)

       25.     On or about June 23, 2022, in the Southern District of Ohio, and elsewhere, the

defendants, CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro, " and

PATRICK M. SAULTZ, aka "White Boy Pat, " did knowingly, intentionally, and unlawfully

distribute 40 grams or more ofa mixture or substance containing a detectable amount ofN-phenyl-

N-[l-(2-phenylethyl)-4-piperidinyl] propanamide, commonly referred to as "fentanyl, " a Schedule

II controlled substance, andthey did so within 1,000 feet ofthe real property ofa Columbus City

School, to wit, Bun-oughs Elementary School.

       In violation of21 U. S.C. §§ 841(a)(l), 841(b)(l)(B)(vi), and 860, and 18 U. S.C. § 2.



                                         COUNT 15
                        (Possessionwith Intent to Distribute Fentanyl)

       26.     On or about June 23, 2022, in the Southern District of Ohio, and elsewhere, the

defendants, MICHAEL D. FOWLER and CARMELA BROOKS, did knowingly, intentionally,

and unlawfully possess with intent to distribute 40 grams or more of a mixture or substance

containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl] propanamide,

commonly referred to as "fentanyl, " a Schedule II controlled substance, and they did so within

1,000 feet ofthe real property of a Columbus City School,to wit, BurroughsElementary School.

       In violation of 21 U. S. C. §§ 841(a)(l), 841(b)(l)(B)(vi), and 860, and 18 U. S. C. § 2.




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                                            COUNT 16
                      (Possessionwith Intent to Distribute CocaineBase)

       27.     On or about June 25, 2022, in the Southern District of Ohio, and elsewhere, the

defendant, DUSTIN A. SPEAKMAN, aka "Dawg, " did knowingly, intentionally, andunlawfully

possess with intent to distribute a mixture or substance containinga detectable amount ofcocaine

base, coinmoiily referred to as "crack, " a Schedule II controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.


                                            COUNT 17
                         (Possession with Intent to Distribute Fentanyl)

       28.     On or about June 26, 2022, in the Southern District of Ohio, and elsewhere, the

defendants, CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro, " PATRICK

M. SAULTZ, aka "White Boy Pat, " and ALEXIS C. LEWIS, did knowingly, intentionally,

and unlawfully possess with intent to distribute 40 grams or more of a mixture or substance

containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl] propanamide,

commonly referred to as "fentanyl, " a Schedule II controlled substance, and they did so within

1, 000 feet ofthe real property of a Columbus City School, to wit, Burroughs Elementary School.

       In violation of21 U. S.C. §§ 841(a)(l), 841(b)(l)(B)(vi), and 860, and 18 U. S.C. § 2.


                                         COUNT 18
         (Possessionwith Intent to Distribute Fentanyl, Cocaine, and CocaineBase)

       29.     On or about June 29, 2022, in the Southern District of Ohio, the defendant, TYLER

N. BOURDO, did knowingly, intentionally, and unlawfully possess with intent to distribute a

mixture or substance containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-

piperidinyl] propanamide,commonly referredto as "fentanyl," a ScheduleII controlled substance;

a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled



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substance;anda mixtureorsubstancecontaininga detectableamountofcocainebase,commonly
referred to as"crack, " a Schedule II controlled substance.
       Inviolation of21U.S.C.§§841(a)(l) and841(b)(l)(C), and18U. S.C.§ 2.

                                            COUNT 19
                (Possessionofa FirearminFurtheranceofa DrugTraffickingCrime)
        30. OnoraboutJune29, 2022,intheSouthernDistrictofOhio,thedefendant,TYLER
N.BOURDO, didknowingly possessa firearm,towit,a Glock,Model27,9mmpistol,bearing
serial number AGBV081, in fartherance of a drug trafficking crime for whichhe may be
prosecutedina courtoftheUnitedStates,thatis,possessionwithintenttodistributecontrolled
 substances, inviolation of21 U. S.C. § 841(a)(l), asalleged in Count 18ofthis Superseding
 Indictment.

         In violation of 18 U. S. C. §§ 924(c)(l)(A)(i) and 2.

                                             COUNT20
                                 (Felon in Possession ofa Firearm)
         31      OnoraboutJune29,2022,intheSouthernDistrictofOhio,thedefendant,TYLER
  N.BOURDO,knowinghehadpreviouslybeenconvictedofa crimepunishablebyimprisonment
  fora termexceedingoneyear,didknowinglypossessa firearm,towit,a Clock,Model27,9mm
  pistol, bearing serial number AGBV081, and that firearm was in and affecting interstate
  commerce.


          Inviolation of18U.S.C. §§922(g)(l) and924(a)(8).




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                                             COUNT 21
                      (Possessionwith Intent to Distribute CocaineBase)

        32.     On or about June 29, 2022, in the Southern District of Ohio, the defendant,

TAVARYYUAN JOHNSON, aka "Gucci, " aka "TJ," did knowingly, intentionally, and

unlawfally possess with intent to distribute 28 grams or more of a mixture or substance containing

a detectable amount of cocaine base, commonly referred to as "crack," a Schedule II controlled

substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(B)(iii), and 18 U. S.C. § 2.


                                             COUNT 22
                (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

        33.    On or about June 29, 2022, in the Southern District of Ohio, the defendant,

TAVARYYUAN JOHNSON, aka "Gucci, " aka "TJ, " did knowingly possess a firearm, to wit,

a Glock, Model 27, . 40 caliber pistol, bearing serial number TGA231, in furtherance of a drug

trafficking crime for which he may be prosecuted in a court ofthe United States, that is, possession

with intent to distribute cocaine base, in violation of21 U. S. C. § 841(a)(l), as alleged in Count 21

ofthis SupersedingIndictment.

       In violation of 18 U. S. C. §§ 924(c)(l)(A)(i) and 2.


                                         COUNT 23
         (Possessionwith Intent to Distribute Fentanyl, Cocaine, CocaineBase, and
                    Methamphetamine,Alprazolam, and Oxycodone)

        34.     On or about June 29, 2022, in the Southern District of Ohio, the defendant,

ALLISON E. SMITH, aka "Alii, " did knowingly, intentionally, and unlawfully possess with

intent to distribute a mixture or substance containing a detectable amount ofN-phenyl-N-[l-(2-

phenylethyl)-4-piperidinyl] propanamide, commonly referred to as "fentanyl, " a Schedule II




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controlled substance;a mixtureor substancecontaininga detectableamountofcocaine,a Schedule

II controlled substance; a mixture or substance containing a detectable amount of cocaine base,

commonly referred to as "crack, " a Schedule II controlled substance; a mixture or substance

containing a detectable amount of methamphetamine, its salts, isomers, or salts of its isomers, a

Schedule II controlled substance; a mixture or substance containing a detectable amount of

oxycodone, a Schedule II controlled substance; and a mixture or substance containing a detectable

amount of alprazolam, a Schedule IV controlled substance.

       In violation of21 U. S.C. §§ 841(a)(l), 841(b)(l)(C), 841(b)(2), and 18 U. S.C. § 2.


                                           COUNT 24
                          (Possessionwith Intent to Distribute Cocaine)

       35.     On or about June 29, 2022, in the Southern District of Ohio, the defendant, DAVID

E. PRICE, aka "DP," did knowingly, intentionally, and unlawfiilly possess with intent to

distribute a mixture or substance containing a detectable amount of cocaine, a Schedule II

controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.



                                           COUNT 25
                        (Possessionwith Intent to Distribute CocaineBase)

       36.     On or about June 29, 2022, in the Southern District of Ohio, the defendant,

PATRICK SAULTZ, aka "White Boy Pat, " did knowingly, intentionally, and unlawfully

possess with intent to distribute a mixture or substancecontaininga detectable amount ofcocaine

base, commoiily referred to as "crack, " a Schedule II controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S.C. § 2.




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                                          COUNT26
             (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

       37.      On or about June 29, 2022, in the Southern District of Ohio, the defendant,

PATMCK SAULTZ, aka "White Boy Pat, " did knowingly possess a firearm, to wit, a Ruger,

Model 57, 5. 7 x 28iimi pistol, bearing serial number 641-60669, in furtherance ofa dmg trafficking

crime for whichhe may be prosecuted in a court ofthe United States, that is, possession with intent

to distribute cocaine base, in violation of 21 U. S. C. § 841(a)(l), as alleged in Count 25 of this

SupersedingIndictment.

       In violation of 18 U. S. C. §§ 924(c)(l)(A)(i) and 2.


                                           COUNT 27
                                (Felon in Possession of a Firearm)

       38.      On or about June 29, 2022, in the Southern District of Ohio, the defendant,

PATMCK SAULTZ, aka "White Boy Pat, " knowing he had previously been convicted of a

crime punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm,

to wit, a Ruger, Model 57, 5.7 x 28mmpistol, bearing serial number 641-60669, andthat firearm

was in and affecting interstate commerce.

       In violation of 18 U. S.C. §§ 922(g)(l) and 924(a)(8).


                                            COUNT 28
               (Possessionwith Intent to Distribute Fentanyl and CocaineBase)

       39.      On or about June 29, 2022, in the Southern District of Ohio, the defendant,

CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro, " did knowingly,

intentionally, and unlawfully possess with intent to distribute a mixture or substance containing a

detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]         propanamide, commonly

referred to as "fentanyl, " a Schedule II controlled substance; and a mixture or substance containing


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a detectable amount of cocaine base, commonly referred to as "crack, " a Schedule II controlled

substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.


                                           COUNT29
             (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

       40.      On or about June 29, 2022, in the Southern District of Ohio, the defendant,

CORDELLA. WASHINGTON, aka "Corey, " aka "Dub," aka "Bro, " didknowingly possess

a firearm, to wit, a Smith& Wesson9mm pistol, bearing serial numberNCK9689,in furtherance

of a dmg trafficking crime for which he may be prosecuted in a court of the United States, that is,

possessionwithintentto distributefentanylandcocainebase,inviolationof21 U. S.C. § 841(a)(l),

as alleged in Count 28 ofthis SupersedingIndictment.

       In violation of 18 U. S. C. §§ 924(c)(l)(A)(i) and 2.


                                           COUNT 30
             (Possession of a Firearm in Furtherance of a Drug Traffickiug Crime)

       41.      On or about June 30, 2022, in the Southern District of Ohio, the defendants,

CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro, " and PATRICK

SAULTZ, aka "White Boy Pat," did knowingly possess one or more firearms, to wit: a

Remington Wingmaster 870 shotgun, bearing serial number S635855V; a Sears Roebuck Model

21 shotgun, bearing no serial number; a Mauser K98 rifle, bearing serial number 9130256982; a

Mossberg 930 shotgun, bearing serial number AF116053; a Winchester 94 rifle , bearing serial

number 4547097; a Kel-Tec PLR 16 pistol, with scope, bearing serial number P8J10, in

furtherance ofa drug trafficking crime for whichthey may be prosecutedin a court ofthe United




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States, that is, conspiracyto distribute andpossess with intent to distribute controlled substances,

in violation of21 U. S.C. § 846, as alleged in Count 1 ofthis SupersedingIndictment.

       In violation of 18 U. S. C. §§ 924(c)(l)(A)(i) and 2.


                                           COUNT 31
                               (Felon in Possession of a Firearm)

       42.      On or about June 30, 2022, in the Southern District of Ohio, the defendant,

PATRICK SAULTZ, aka "White Boy Pat, " knowing he had previously been convicted of a

crime punishable by imprisonment for a term exceeding one year, did knowingly possess one or

more firearms, to wit: a RemingtonWingmaster870 shotgun, bearingserialnumber S635855V; a

Sears Roebuck Model 21 shotgun, bearing no serial number; a Mauser K98 rifle, bearing serial

number 9130256982; a Mossberg 930 shotgun, bearing serial number AF116053; and a

Winchester 94 rifle, bearing serial number 4547097; a Kel-Tec PLR 16 pistol, with scope, bearing

serial number P8J10,andthose firearms were in andaffectinginterstate commerce.

       In violation of 18 U. S. C. §§ 922(g)(l) and 924(a)(8).


                                         COUNT 32
             (Possessionof a Firearm in Furtherance of a Drug Trafficking Crime)

       43.      On or about June 30, 2022, in the Southern District of Ohio, the defendants,

CORDELL A. WASfflNGTON, aka "Corey, " aka "Dub, " aka "Bro, " and PATRICK

SAULTZ, aka "White Boy Pat, " did knowingly possess a firearm, to wit, a Smith & Wesson

M&P 2.0 pistol, bearing serial number NCL4076, in furtherance of a dmg trafficking crime for

which they may be prosecuted in a court ofthe United States, that is, conspiracy to distribute and




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possess with intent to distribute controlled substances, in violation of 21 U. S. C. § 846, as alleged

in Count 1 ofthis SupersedingIndictment.

       In violation of 18 U. S.C. §§ 924(c)(l)(A)(i) and 2.


                                            COUNT33
                                (Felon in Possession of a Firearm)

       44.     On or about June 30, 2022, in the Southern District of Ohio, the defendant,

PATRICK SAULTZ, aka "White Boy Pat, " knowing he had previously been convicted of a

crime punishable by imprisomnent for a term exceeding one year, didknowingly possess a firearm,

to wit, a SmithandWessonM&P 2. 0 pistol, bearingserialnumberNCL4076,andthatfirearmwas

in andaffectinginterstate commerce.

       In violation of 18 U. S. C. §§ 922(g)(l) and 924(a)(8).


                                         COUNT34
                 (Possessionwith Intent to DistributeFentanyl and Cocaine)

       45.     Between in or about May 2022 through July 1, 2022, in the Southern District of

Ohio, the defendant, TAVARYYUAN JOHNSON, aka "Gucci, " aka "TJ, " did knowingly,

intentionally, and unlawfully possess with intent to distribute 40 grams or more of a mixture or

substance containing a detectable amount of N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]

propanamide, conimonly referred to as "fentanyl," a Schedule II controlled substance; and a

mixture or substance . containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of21 U. S.C. §§ 841(a)(l), 841(b)(l)(B)(vi), and 841(b)(l)(C), and 18U. S.C.
§2.




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                                         COUNT35
             (Possessionof a Firearm in Furtherance of a Drug Trafficking Crime)

       46.      Between in or about May 2022 through July 1, 2022, in the Southern District of

Ohio, the defendant, TAVARYYUAN JOHNSON, aka "Gucci, " aka "TJ, " did knowingly

possess one or more firearms, to wit, A .45 caliber Taurus PT145 pistol, bearing SerialNumber

NCU68899;a TaumsPT24/7 9mmpistol, bearingSerialNumberNAR16534, a BerettaPx4 Storm

9mm pistol, bearing Serial Number PX4 PZ1310D, a C.A.I. (Century Arms), Model: PA-63,

Caliber: 9mmMakarov, Serial Number: AG4689, a Sig Sauer, Model: P320, Caliber: 9mm, Serial

Number: 58C131902, and a Springfield, Model: XD-40, Caliber: . 40, Serial Number; US477570,

infurtheranceofa dmgtraffickingcrime for whichtheymaybeprosecutedin a courtoftheUnited

States, that is, possession with intent to distribute fentanyl and cocaine, in violation of 21 U. S. C.

§ 841(a)(l), as alleged in Count 34 ofthis SupersedingIndictment.

       In violation of 18 U. S. C. §§ 924(c)(l)(A)(i) and 2.


                                             COUNT 36
             (Possession of a Firearm in Furtherance of a Drug TraffickingCrime)

       47       Between in or about May 2022 through July 1, 2022, in the Southern District of

Ohio, the defendants, CORDELL A. WASHINGTON, aka "Corey, " aka "Dub," aka "Bro,"

and TAVARYYUAN JOHNSON, aka "Gucci, " aka "TJ," did knowingly possess one or more

firearms,to wit, a CZ Scorpionpistol, bearing SerialNumberC952539; anAndersonAMI5 rifle,

bearing Serial Number 15020490; an Intratec 9inm Mod AB-10 pistol, bearing Serial Number

AO17639; a Yugoslavian59/66 rifle, bearing SerialNumberJ-354260; an AndersonAM-16 rifle,

bearingSerialNumber 15281454;a Glock 23C pistol, bearingSerialNumberABRW497;a Glock

21 pistol, bearing Serial Number DNR511US; a RomArm Draco AR47 pistol, bearing Serial

Number DB-0819-16RO; a Century Arms VSKA rifle, bearing Serial Number SV7005393; a


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RomArm micro draco pistol, bearing Serial Number PM:D-0562418RO; a Ruger Super Redhawk

revolver, bearing SerialNumber 55147343; a Smith andWesson M&P Shieldpistol, bearing Serial

Number HKY7806; a Walther 9mm pistol, bearing Serial Number FAN8218; an Armi GT27

pistol, bearing Serial Number M57005; a Ruger 10/22 rifle, bearing Serial Number 821-03941; a

Bushmaster rifle, bearing Serial Number BFI659961; a Mossberg 88 shotgun, bearing Serial

Number MV51813V; a Romarm SAR-1 rifle, bearing Serial Number Sl-57119-2002; a Mariin

30-30 rifle, bearing Serial Number 95002559; a GSG S22 rifle, bearing Serial Nmnber A564876;

a Western Field M550AD shotgun, bearing no Serial Number; a New England 17 HMR rifle,

bearing Serial Number NV227057; a Bond Arms Colt 45 pistol, bearing Serial Number 83973; a

Taurus PT24/7 pistol, bearing Serial Number NAR16534; a Smith and Wesson M&P pistol,

bearing Serial Number HRD9611; a Taurus pistol, bearing Serial Number TIM21658; and an F.lli

Pietta PN pistol, bearing Serial Number 401511, in furtherance of a drug trafficking crime for

whichthey may be prosecuted in a court ofthe United States, that is, conspiracyto distribute and

possess with intent to distribute controlled substances, in violation of 21 U. S. C. § 846, as alleged

in Count 1 of this Superseding Indictment.

        In violation of 18 U. S.C. §§ 924(c)(l)(A)(i) and 2.


                                             COUNT 37
                             (Maintaininga Drug Involved Premise)

        48.     Between in or about May 2022 through July 1, 2022, in the Southern District of

Ohio, the defendant, PRISCILLA L. WASfflNGTON, did unlawfully and knowingly manage

and control a residence as an owner, lessee, occupant, or mortgagee, and did knowingly and

intentionally rent, lease, profit from, or make available for use said residence, with or without




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compensation, for the purpose of unlawfully manufacturing, storing, distributing, or using a

controlled substance.

       In violation of 21 U. S.C. § 856(a)(2).


                                        COUNT38
                   (Possessionwith Intent to DistributeMethamphetamine)

       49.      On or about August 3, 2022, in the Southern District of Ohio, the defendant,

IVIICHAELD. BURTON, did knowingly, intentionally, and unlawfully possess with intent to

distribute a mixture or substance containing a detectable amount of methamphetamine, its salts,

isomers, or salts of its isomers, a Schedule II controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C), and 18 U. S. C. § 2.



                                          COUNT39
             (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

       50.      On or about August 3, 2022, in the Southern District of Ohio, the defendant,

MICHAELD. BURTON,didknowinglypossessa firearm, to wit, anFNHerstal 5.7 x 28 caliber

pistol, bearing serial number 386371429, in furtherance of a drug trafficking crime for whichhe

may be prosecuted in a court of the United States, that is, possession with intent to distribute

methamphetamine, in violation of 21 U. S. C. § 841(a)(l), as alleged in Count 38 of this

Superseding Indictment.

       In violation of 18 U. S.C. §§ 924(c)(l)(A)(i) and 2.


                                            COUNT 40
                                (Felon in Possession of a Firearm)

       51.      On or about August 3, 2022, in the Southern District of Ohio, the defendant,

MICHAELD. BURTON, knowinghe had previously been convicted of a crime punishable by



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imprisonment for a tenn exceeding one year, did knowingly possess a fireann, to wit, an FN

Herstal 5. 7 x 28 caliber pistol, bearing serial number 386371429, and that fireann was in and

affecting interstate commerce.

        In violation of 18 U. S. C. §§ 922(g)(l) and 924(a)(8).


                                               COUNT 41
                                  (Felon in Possession of a Firearm)

        52.     On or about August 1, 2022, in the Southern District of Ohio, the defendant,

MICHAEL D. BURTON, knowing he had previously been convicted of a crime punishable by

imprisonment for a term exceedingoneyear, did knowinglypossess one or more firearms, to wit,

a Smith & Wesson, M&P Shield, 9mm pistol, bearing serial number LEV0738; and a Ruger EC9S,

9mm pistol, bearing serial number 45486947, and those firearms were in and affecting interstate

commerce.


        In violation of 18 U. S. C. §§ 922(g)(l) and 924(a)(8).


                                            FORFEITURE A

        53.     The allegations ofthis SupersedingIndictment are realleged and by this reference

fully mcorporatedherein for the purpose ofallegingforfeiture to the United States ofAnierica.

        54.     Upon conviction of any offense alleged in this Superseding Indictment, the

defendant, CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro, " shall forfeit

to the United States all of his right, title, and interest in:

    a. all firearms and ammunition involved in or used in such offense, in accordance with 18

        U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c); and/or

    b. any property constituting, or derived from, proceeds obtained, directly or indirectly, as a

        result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C. § 846, and any


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       property used, or intendedto be used, in anymanneror part, to commit, or to facilitatethe

       commission of such violation(s), in accordance with 21 U. S.C. § 853(a)(l) and (2),

       including, but not limited to:

           1. The followingproperty seizedon or aboutDecember 17, 2020, from the residence
               located at 715 South Burgess, Columbus, Ohio:
                    . A High Standard, . 22 caliber pistol, bearing serial number 690090;
                   . A Ruger LC9S, 9mm pistol, bearingserial number 327-14814;and
                   . All ammunition and magazines.

           2. Thefollowingproperty seizedonor aboutJune29, 2022,fromtheresidencelocated
              at 150 BaldersonDrive, Pickerington, Ohio:
                       . A Smith and Wesson 9mm firearm, bearing serial number NCK9689;
                       . All magazinesand ammunition;
                       . Approximately $10, 795. 00 in United States currency, which includes:
                             o Approximately $10,255. 00 in United States currency seized from
                               the master bedroom in the residence; and
                           o Approximately $540.00 seizedfrom a wallet found in theresidence
                              which also held an identification card for Cordell Washington; and
                   .     A diamondplated Rolex watch;
                   .     A diamond ring;
                   .     A Rolex watchheld in a box;
                   .     Gold and diamondearrings; and
                   .     Diamond earrings.

           3. A red 1988 Chevrolet Monte Carlo, VIN 1G1GZ11G3IP109009,last known to
              display Ohio license JTH9187,titled in the name ofCordell A. Washington;

           4. A gray 2015 GMC Yukon, VIN 1GKS2HKC4FR168967, last known to display
               Ohio license JCV9389,titled in the name ofCordell A. Washington;

           5. A gray 2015 Acura MDX, VIN 5FRYD4H89FB024895, last known to display
              Ohio license JDB3 028, titled in the name ofCordell A. Washington; and

           6. A black 2017 Cadillac Escalade, VIN 1GYS4HKJ1HR127391, last known to
              display Ohio license JTB3900,titled in the name ofRebeccaM. Washington.

      Forfeiture notice pursuant to 18 U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c), 21 U. S. C.
§ 853(a)(l) and (2), and Rule 32.2 of the FederalRules of Criminal Procedure.




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                                         FORFEITURE B

        55.     The allegations of this Superseding Indictment are realleged and by this reference

fully incorporated herein for the purpose of alleging forfeiture to the United States ofAmerica.

        56.    Upon conviction of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C.

§ 846 as alleged in this Superseding Indictment, the defendant, PATRICK M. SAULTZ, aka

"White Boy Pat, " shall forfeit to the United States, in accordance with 21 U. S. C. § 853(a)(l) and

(2), all of his right, title, and interest in any property constituting, or derived from, proceeds

obtained, directly or indirectly, as a result of such violation(s), and any property used, or intended

to be used, in any manner or part, to commit, or to facilitate the commission of the violation(s),

including, but not limited to, the following:

                1.     A black 2019 BMW 7 Series, VIN WBA7F2C56KB239637, last known to
                       display Ohio license 0031151,titled in the name ofPatrickM. Saultz;

               2.      A black 1986 Buick Regal, VIN 1G4GK4772GP458025, last known to
                       display Ohio license 295ZKR,titled in the name ofPatrickM. Saultz;

               3.      A teal Hariey Davidson Road Glide motorcycle, VIN
                       1HD1KTM11FB611217, last known to display Ohio license HYS59, titled
                       in the name ofAshley R. M:orrison(Ashley Saultz); and

               4.      Approximately $71, 730. 27 seized on or about July 11, 2022, from JP
                       Morgan Chase Checking Account xxxx6895, held in the name of Patrick
                       Saultz, pursuant to a federal seizure warrant.

       Forfeiture notice pursuant to 21 U. S.C. § 853(a)(l) and (2) and Rule 32.2 of the
Federal Rules of Criminal Procedure.



                                         FORFEITURE C

        57.    The allegations of this Superseding Indictment are realleged and by this reference

fully incorporated herein for the purpose of alleging forfeiture to the United States ofAmerica.




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        58.      Upon conviction of any offense alleged in this Superseding Indictment, the

defendants, CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro and

PATRICK M. SAULTZ, aka "White Boy Pat, " shall forfeit to the United States all of their

right, title, and interest in:

    a. all firearms and ammunition involved in or used in such offense, in accordance with 18

        U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c); and/or

    b. any property constituting, or derived from, proceeds obtained, directly or mdirectly, as a

        result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C. § 846, and any

        property used, or intended to be used, in any manner or part, to commit, or to facilitate the

        commission of such violation(s), in accordance with 21 U. S. C. § 853(a)(l) and (2),

        including, but not limited to:

                 1. The following property seized on or about June 30, 2022, from Car-Go Storage,
                    Unit S14:
                             . A Remington Wingmaster 870 shotgun, bearing serial number
                                S635855V;
                             . A SearsRoebuckModel 21 shotgun, bearingno serialnumber;
                             . A MauserK98 rifle, bearingserial number 9130256982;
                             . A Mossberg 930, shotgun, bearing serial numberAPI16053;
                                 .   A Winchester 94 rifle , bearing serial number 4547097;
                                 .   A Kel-Tec PLR 16 pistol, with scope, and bearing serial number
                                     P8J10; and
                                 .   All magazinesand ammunition.

                 2. The following property seized on or about June 30, 2022, from Car-Go Storage,
                    Unit T15:
                                 .   Approximately $895, 300. 00 in United States currency; and
                                 .   A Rolex Oyster Perpetual Datejust watch held in a green box.

                 3. The following property seized on or about June 30, 2022, from Car-Go Storage,
                    Unit 019:
                                 .   A Smith and Wesson M&P 2. 0 pistol, bearing serial number
                                     NCL4076;


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                             .   All magazines and ammunition; and
                             .   Approximately $325, 040 in United States currency.

                4. Approximately $ 112, 646.18 seized on or about July 11, 2022, from Huntington
                    Bank Business Checking Account xxxx3720, held in the name of Ohio P&C
                    Properties, LLC,pursuantto a federal seizurewarrant.

        Forfeiture notice pursuant to 18 U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c), 21 U. S. C.
§ 853(a)(l) and (2), and Rule 32. 2 of the Federal Rules of Criminal Procedure.

                                          FORFEITURE D

        59.     The allegations of this Superseding Indictment are realleged and by this reference

fully incorporatedherein for the purpose ofalleging forfeiture to the Umted States ofAmerica.

        60.     Upon conviction of any offense in violation of 21 U. S.C. § 841 and/or 21 U. S.C.

§ 846 as alleged in this Superseding Indictment, the defendant, DAVID E. PMCE, aka "DP,"

shall forfeit to the United States, in accordance with 21 U. S. C. § 853(a)(l) and (2), all ofhis right,

title, and interest in any property constituting, or derived from, proceeds obtained, directly or

indirectly, as a result of such violations, and any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of the violations, including, but not

limited to, a black 2015 Chevrolet Tahoe, VIN 1GNSKBKC5FR145567, last known to display

Ohio license JDN2395,titled in the name of David Price.

        Forfeiture notice pursuant to 21 U.S.C. § 853(a)(l) and (2) and Rule 32.2 of the
Federal Rules of Criminal Procedure.



                                          FORFEITURE E

        61.     The allegations ofthis SupersedingIndictment are realleged andby this reference

fully incorporatedhereinfor the purpose ofalleging forfeiture to theUnited States ofAmerica.




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        62.     Upon conviction of any offense alleged in this Superseding Indictment, the

defendants, CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro and DAVID

E. PRICE,aka "DP," shall forfeit to the United States all oftheir right, title, andinterest in:

    a. all firearms and ammunition involved in or used in such offense, in accordance with 18

       U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c); and/or

   b. any property constituting, or derived from, proceeds obtained, directly or indirectly, as a

       result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C. § 846, and any

       property used, or intendedto be used, in any manner or part, to commit, or to facilitate the

       commission of such violation(s), in accordance with 21 U. S. C. § 853(a)(l) and (2),

       including, but not limited to, the following property seized on or about August 4, 2021,

       from the residence located at 139 South Princeton Avenue, Columbus, Ohio:

                1.      A JimenezAnns .380 caliberpistol, bearingserial number 091278;
                2.      A Bryco Arms 9mm pistol, bearingserialnumber 1509754;
                3.      A Ruger . 22 caliber pistol, bearing serial number 363-74908;
                4.      All magazines and ammunition; and
                5.      Approximately $9, 701. 00 in United States currency.

       Forfeiture notice pursuant to 18 U. S. C. § 924(d)(l) and 28 U. S.C. § 2461(c), 21 U. S. C.
§ 853(a)(l) and (2), and Rule 32. 2 of the Federal Rules of Criminal Procedure.



                                          FORFEITURE F

        63.     The allegations ofthis SupersedingIndictment are realleged and by this reference

fully incorporatedhereinfor the purpose of alleging forfeiture to the United States ofAmerica.

        64.     Upon conviction of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C.

§ 846 as alleged in this Superseding Indictment, the defendant, ALLISONE. SMITH, aka "Alii,"

shall forfeit to the United States, in accordance with 21 U. S. C. § 853(a)(l) and (2), all ofher right,

title, and interest in any property constituting, or derived from, proceeds obtained, directly or



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indirectly, as a result of such violations, and any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of the violations, including, but not

limited to, approximately $8, 386. 00 in United States currency seized on or about June 29, 2022,

from the residence located at 505 South Harris Avenue, Columbus, Ohio.

        Forfeiture notice pursuant to 21 U. S.C. § 853(a)(l) and (2) and Rule 32.2 of the
Federal Rules of Criminal Procedure.
                                           FORFEITURE G

        65.     The allegations of this Superseding Indictment are realleged and by this reference

fully incorporated herein for the purpose of alleging forfeitire to the United States ofAmerica.

        66.     Upon conviction of any offense alleged in this Superseding Indictment, the

defendant, TAVARYYUAN JOHNSON, aka "Gucci, " aka "TJ," shall forfeit to the United

States all ofhis right, title, andinterest in:

    a. all firearms and ammunition involved in or used in such offense, in accordance with 18

        U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c); and/or

   b. any property constituting, or derived from, proceeds obtained, directly or indirectly, as a

        result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C. § 846, and any

        property used, or intendedto be used, in any manner or part, to commit, or to facilitatethe

        commission of such violation(s), in accordance with 21 U. S. C. § 853(a)(l) and (2),

        including, but not limited to, the following property seized on or about June 29, 2022, from

        the residence located at 43OA South Warren, Columbus, Ohio:

                1.      A loadedGlock 27 firearm, bearingserial number TGA261;

                2.      All magazines and ammunition;

                3.      Approximately $44, 061. 00 in United States currency, which includes;
                            . Approximately $36, 132. 00 in United States currency seized from
                                  inside the residence;



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                                .   Approximately $6, 914. 00 seized from Tavaryyuan Johnson's pants
                                    pockets at the time ofhis arrest at the residence; and
                                .   Approximately $1,015.00 in United States currency seizedfrom a
                                    purse found in the residence; and

                4.     Approximately $342. 00 in United States currency.

        Forfeiture notice pursuant to 18 U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c), 21 U. S. C.
§ 853(a)(l) and (2), and Rule 32. 2 of the Federal Rules of Criminal Procedure.

                                             FORFEITURE H

        67.    The allegations ofthis SupersedingIndictment are realleged and by this reference

fully incorporatedherein for the purpose ofallegingforfeiture to the United States ofAmerica.

        68.    Upon conviction of any offense alleged in this Superseding Indictment, the

defendant, TYLER N. BOURDO, shall forfeit to the United States all of his right, title, and

interest in:


    a. all firearms and ammunition involved in or used in such offense, in accordance with 18

        U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c); and/or

    b. any property constituting, or derived from, proceeds obtained, directly or indirectly, as a

        result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S.C. § 846, and any

        property used, or intended to be used, in any manner or part, to commit, or to facilitate the

        commission of such violation(s), in accordance with 21 U. S. C. § 853(a)(l) and (2),

        including, but not limited to,

                1.     Thefollowingproperty seizedon or aboutJune29, 2022, fromtheresidence
                       located at 43OB South Warren, Columbus, Ohio:
                           .        A loadedGlock 27 firearm, bearing serialnumberAGBV081;
                            .       All magazines and ammunition; and
                            .       Approximately $4, 660. 40 in United States cun-ency.




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                   2.      A white 2017BMW 5 Series, VINWBAJA5C30HG894683,last knownto
                           display Ohio license JAL3947, titled in the name of William Vladimir
                           Denega.

        Forfeiture notice pursuant to 18 U. S.C. § 924(d)(l) and 28 U. S. C. § 2461(c), 21 U. S. C.
§ 853(a)(l) and (2), and Rule 32. 2 of the Federal Rules of Criminal Procedure.

                                            FORFEITURE I

        69.        The allegations ofthis Superseding Indictment are realleged and by this reference

fully incorporatedherein for the purpose ofalleging forfeiture to the United States ofAmerica.

        70.        Upon conviction of any offense alleged in this Superseding Indictment, the

defendants, PATMCK M. SAULTZ, aka "White Boy Pat, " and ALEXIS C. LEWIS, shall

forfeit to the United States all of their right, title, and interest in:

    a. all fireamis and ammunition involved in or used in such offense, in accordance with 18

        U. S. C. § 924(d)(l) and 28 U. S. C. § 2461 (c); and/or

    b. any property constituting, or derived from, proceeds obtained, directly or indirectly, as a

        result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C. § 846, and any

        property used, or intended to be used, in any manner or part, to commit, or to facilitate the

        commission of such violation(s), in accordance with 21 U. S. C. § 853(a)(l) and (2),

        including,butnot limitedto, the followingproperty seizedon or aboutJune29, 2022, from

        the residence located at 140 Whitethome Avenue, Columbus, Ohio:

              1.        A Ruger -57 pistol, bearing serial number 641-60669;

              2.        All magazinesand ammunition;

              3.        Approximately $100, 577. 00 in United States currency, which includes:
                               . Approximately $95,577. 00 in United States currency seized from
                                    inside the residence; and
                                .   Approximately $5, 000. 00 in United States currency seizedfrom the
                                    2019 black BMW located at the residence; and


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             4.      A Rolex watch.


      Forfeiture notice pursuant to 18 U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c), 21 U. S. C.
§ 853(a)(l) and (2), and Rule 32.2 ofthe Federal Rules of Criminal Procedure.


                                          FORFEITURE J

       71.        The allegations of this Superseding Indictment are realleged and by this reference

fully incorporatedherein for the purpose ofalleging forfeiture to the United States ofAmerica.

       72.        Upon conviction of any offense alleged in this Superseding Indictment, the

defendants, CORDELL A. WASfflNGTON, aka "Corey, " aka "Dub," aka "Bro, PATMCK

M. SAULTZ, aka "White Boy Pat, " DAVID E. PRICE, aka "DP,", and TYLER N.

BOURDO,shall forfeit to the United States all oftheir right, title, andinterest in:

   a. all firearms and ammunition involved in or used in such offense, in accordance with 18

       U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c); and/or

   b. any property constituting, or derived from, proceeds obtained, directly or indirectly, as a

       result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C. § 846, and any

       property used, or intended to be used, in any manner or part, to commit, or to facilitate the

       commission of such violation(s), in accordance with 21 U. S. C. § 853(a)(l) and (2),

       including, but not limited to, the following property seized on or about February 17, 2022,

       from the residence located at 634 South Ogden Avenue, Columbus, Ohio:

                         1.      A Smith and Wesson, US M&P P9 handgun, bearing serial number
                                 NBL1170;
                         2.      All magazines and ammunition; and
                         3.      Approximately $2, 668. 00 in United States currency.

       Forfeiture notice pursuant to 18 U. S.C. § 924(d)(l) and 28 U. S. C. § 2461(c), 21 U. S.C.
§ 853(a)(l) and (2), and Rule 32. 2 of the Federal Rules of Criminal Procedure.



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                                           FORFEITURE K

        73.      The allegations ofthis SupersedingIndictment are realleged and by this reference

fully incorporatedherein for the purpose ofalleging forfeiture to the United States ofAmerica.

        74.      Upon conviction of any offense alleged in this Superseding Indictment, the

defendants, CORDELL A. WASHINGTON, aka "Corey, " aka "Dub, " aka "Bro,

TAVARYYUAN JOHNSON, aka "Gucci, " aka "TJ," and PRISCILLAL. WASHINGTON,

shall forfeit to the United States all oftheir right, title, andinterest in:

              a. all firearms and ammunition involved in or used in such offense, in accordance with

                  18 U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c); and/or

              b. anyproperty constituting, or derived from, proceeds obtained, directly or indirectly,

                 as a result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C. § 846

                 and/or or 21 U. S.C. § 856, and any property used, or intended to be used, in any

                 manner or part, to commit, or to facilitate the commission of such violation(s), in

                 accordance with 21 U. S.C. § 853(a)(l) and (2), including, but not limited to, the

                 following property seized on or about July 1, 2022, from the residence located at

                  1214 Smith Road, Columbus, Ohio:

                                 A CZ Scorpion pistol, bearing serial number C952539;
                                 An Anderson AM15 rifle, bearing serial number 15020490;
                                 An Intratec 9iimi Mod AB-10 pistol, bearing serial number
                                 A017639;
                                 A Yugoslavian59/66 rifle, bearing serial number J-354260;
                                 An AndersonAM-16 rifle, bearing serial number 15281454;
                                 A Glock 23C pistol, bearing serial number ABRW497;
                                 A Glock 21 pistol, bearing serial number DNR511US;
                                 A RomArm Draco AR47 pistol, bearing serial number DB-0819-
                                 16RO;
                                 A Century Arms VSKArifle, bearing serial number SV7005393;




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                       11.       A Ruger Super Redhawk revolver, bearing serial number 55147343 ;
                       12.       A Smith and Wesson M&P Shield pistol, bearing serial number
                                 HKY7806;
                      13.        A Walther9mm pistol, bearingserial numberFAN8218;
                      14.        An Armi GT27 pistol, bearing serial number M57005;
                      15.        A Ruger 10/22rifle, bearing serial number 821-03941;
                      16.        A Bushmasterrifle, bearing serial numberBFI659961;
                      17.        A Mossberg 88 shotgun, bearingserialnumberMV51813V;
                      18.        A Romarm SAR-1 rifle, bearing serial number Sl-57119-2002;
                      19.        A Marlin 30-30 rifle, bearingserialnumber 95002559;
                      20.        A GSG S22 rifle, bearing serial number A564876;
                      21.        A WesternFieldM550AD shotgun, bearingno serial number;
                      22.        A New England 17 HMR rifle, bearing serial number NV227057;
                      23.        A BondArms Colt 45 pistol, bearing serial number 83973;
                      24.        A Taurus PT145 pistol, bearing serial numberNCU68899;
                      25.        A Taurus PT24/7pistol, bearingserial numberNAR16534;
                      26.        A Smith and Wesson M&P pistol, bearing serial number HRD9611;
                      27.        A Taums pistol, bearing serial nmnber TIM21658;
                      28.        A Berettapistol, bearing serialnumberPX4PZ1310D;
                      29.        An F.111PiettaPNpistol, bearing serial number401511;
                      30.        An FEG CAI PA-63 pistol, bearing serial number AG4689;
                      31.        A Sig Sauer pistol, bearing serial number 58C131902;
                      32.        A Springfield XD firearm, bearing serial number US477570;
                      33.        Assorted magazines and ammunition; and
                      34.        Approximately $123, 127. 00 in United States currency, which
                                 includes:
                             .   Approximately $101,410.00 in United States currency seizedfrom
                                  a safe located in the basement of the residence;
                             .   Approximately $4, 702. 00 in United States currency seizedfrom the
                                 master bedroom in the residence; and
                             .   Approximately $17, 015. 00 inUmted States currency seized from a
                                  crawl space found in the basement of the residence.

      Forfeiture notice pursuant to 18 U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c), 21 U. S. C.
§ 853(a)(l) and (2), and Rule 32.2 of the Federal Rules of Criminal Procedure.




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                                            FORFEITURE L

        75.         The allegations of this Superseding Indictment are realleged and by this reference

fully incorporatedherein for the purpose ofallegingforfeiture to the United States ofAmerica.

        76.         Upon conviction of any offense alleged in this Superseding Indictment, the

defendant, MICHAEL D. BURTON, shall forfeit to the United States all of his right, title, and

interest in:


    a. all firearms and ammunition involved in or used in such offense, in accordance with 18

        U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c); and/or

    b. any property constituting, or derived from, proceeds obtained, directly or indirectly, as a

        result of any offense in violation of 21 U. S. C. § 841 and/or 21 U. S. C. § 846, and any

        property used, or intendedto be used, in any manner or part, to commit, or to facilitatethe

        commission of such violation(s), in accordance with 21 U. S. C. § 853(a)(l) and (2),

        including, but not limited to, the following:

               1.      The following property seized on or about August 3, 2022, from 3183 Carlee
                       Drive, Columbus, Ohio:
                                .   A loaded FN (FN Herstal) 5. 7 x 28 semi-automatic handgun,
                                    bearing serial number 386371429;
                                .   All magazinesand ammunition; and
                                .   Approximately $20,230.00 in United States currency.

               2.      Thefollowingproperty seizedonor aboutAugust3, 2022,from961 CliffCreek
                       Drive, Columbus, Ohio:
                                .   A loaded Smith & Wesson M&P Shield 9, 9mm handgun, bearing
                                    serial number LEV0738;
                                .   A loaded Ruger EC9S, 9mm handgun, bearing serial number
                                    45486947;
                                .   All magazines and ammunition; and
                                .   Approximately $12, 681. 00 in United States currency




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      Forfeiture notice pursuant to 18 U. S. C. § 924(d)(l) and 28 U. S. C. § 2461(c), 21 U. S.C.
§ 853(a)(l) and (2), and Rule 32.2 of the Federal Rules of Criminal Procedure.


                                      SUBSTITUTEASSETS

       77.     If any of the forfeitable property described in this Superseding Indictment, as a

result of any act or omission of any defendant:

               a.      cannot be located upon the exercise of due diligence;
               b.      has been transferred or sold to, or deposited with, a third party;
               c.      has beenplacedbeyondthejurisdictionofthe court;
               d.      has been substantially diminishedin value; or
               e.      has been commingled with other property whichcannot be divided
                       without difficultv.


it is the intent ofthe United States ofAjnerica, pursuantto 21 U. S.C. § 853(p), to seekforfeiture

of any other property belonging to that defendant up to the value ofthe above forfeitable property.


                                              A TRUE BILL


                                                  s/Fore erson
                                              FOREPERSON



KENNETHL. PARKER
UNITED STATES ATTORNEY




 IMOTH .                   RD (0059455)
Ass" ant U t        States Attorney




EMILY (^Z RNI           WSKI (IL 6308829)
Assistant    n ted S at s Attorney




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